      Case 2:12-md-02323-AB Document 11441-5 Filed 07/19/21 Page 1 of 8




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: NATIONAL FOOTBALL LEAGUE                       :                No. 2:12-md-02323-AB
 PLAYERS’ CONCUSSION INJURY                            :
 LITIGATION                                            :                       MDL No. 2323
                                                       :
                                                       :                  Hon. Anita B. Brody
 THIS DOCUMENT RELATES TO:                             :
                                                       :
 ALL ACTIONS                                           :
                                                       :

                DECLARATION OF ROMA PETKAUSKAS
    REGARDING AUDIT INVESTIGATION RELATED TO COLLINS & TRUETT
                         ATTORNEYS, P.A.

I, ROMA PETKAUSKAS, hereby declare and state as follows:

       1.     Introduction. My name is Roma Petkauskas. I am a partner at BrownGreer

PLC, located at 250 Rocketts Way, Richmond, Virginia 23231 (“BrownGreer”).

BrownGreer is the Court-appointed Claims Administrator for the Class Action Settlement in

this litigation, approved by this Court on April 22, 2015, as amended May 8, 2015. I oversee

all aspects of the NFL Settlement Program’s implementation, including its process for

auditing claims under Sections 10.3-10.4 of the Settlement Agreement.

       2.     Purpose of this Declaration. I submit this Declaration to explain reasons for

conducting an Audit of the Collins & Truett Attorneys, P.A. (“Collins & Truett”) law firm,

the Audit process, and certain evidence obtained during that process.

       3.     Terminology. Unless I define them here, the capitalized terms I use in this

Declaration have the meanings given to them in the Settlement Agreement and Governing

Rules in the Program.




                                EXHIBIT 5
       Case 2:12-md-02323-AB Document 11441-5 Filed 07/19/21 Page 2 of 8




       4.      Reasons to Audit the Collins & Truett Law Firm. During our Audit of the law

firm Howard & Associates, we saw that the law firm of Collins & Truett started taking over

representation of Howard & Associates’ clients. The point of contact for this Settlement

Program at Collins & Truett, is Neil Epstein, a paralegal who also was a key employee of

Howard & Associates. It appeared that Mr. Epstein worked for both firms from at least July

2020 to October 2020. We issued an Audit Rule 15 Audit Report regarding Howard &

Associates and Related Parties on November 25, 2020, outlining our findings. Accepting the

Rule 15 Audit Report, on January 22, 2021, the Special Masters issued an Audit Rule 18

Decision, noting that upon thorough review, they agreed there was compelling evidence

indicating that Howard & Associates and related parties manipulated the medical

examination process and medical records in ways that had the potential to affect whether

Settlement Class Members qualify for a Monetary Award. The Decision also directed that,

given the significant issues raised in the Audit, we were to place all pending claims not yet

processed or paid by any Settlement Class Member then or ever represented by Howard &

Associates into Audit. We immediately followed that direction, putting all such claims,

including those from Settlement Class Members now represented by Collins & Truett, into

Audit and notified Collins & Truett by providing them a copy of the Special Masters’

decision.

       5.      Examination of Connections Between Mr. Howard and Collins & Truett.

While the Audit Proceeding on Howard & Associates and related parties continued through the

briefing process, we started looking further into connections between Mr. Howard and the

Collins & Truett firm. We needed to determine whether Mr. Howard was involved in operations

of the Collins & Truett firm and the extent of his involvement. Settlement Class Members were




                                                 2
       Case 2:12-md-02323-AB Document 11441-5 Filed 07/19/21 Page 3 of 8




switching representation from Howard & Associates to Collins & Truett at a significant rate.

We had outlined in the Howard & Associates and related parties Audit Report the serious

concerns about Mr. Howard’s handling of the NFL Class Members’ evaluations. We were

concerned that he was attempting to continue to stay involved in the preparation of the NFL

Program claims, hidden under the name of another firm, while the Audit Proceeding to disqualify

his participation in the Program was pending.

       6.      The Audit Process Under the Settlement Agreement. As directed by Section

10.3 of the Settlement Agreement and approved by the Special Masters, Co-Lead Class

Counsel, Counsel for the NFL Parties, and the Claims Administrator established and

implement Audit Rules to detect and prevent fraudulent submissions to, and payments of

fraudulent claims from, the Monetary Award Fund. Rule 10 of the Audit Rules states that in

an audit we may require a Settlement Class Member as well as persons and entities other

than the Settlement Class Member to submit records and information to us. Consistent with

Section 10.3(e)(v), we may ask for authorizations to obtain medical records of a Settlement

Class Member. Using the authorizations as appropriate, we obtain any necessary records or

records verifications through telephone, mail, or a document retrieval vendor. When a third-

party source provides us with information relevant to an audit, we keep the source’s identity

as confidential as possible. Doing so is keeping with the best practices of the industry. For

example, the Manual of the Association of Certified Fraud Examiners, which outlines best

practices related to fraud examinations, states that “[i]f the confidential source or informant has

provided documents, names of potential witnesses, or other evidence, all reasonable steps must

be taken to protect the identity of that source.” See Association of Certified Fraud Examiners,

Fraud Examiners Manual 3.519 (2019). In an audit, we also query commercial, proprietary,




                                                 3
      Case 2:12-md-02323-AB Document 11441-5 Filed 07/19/21 Page 4 of 8




and open source data to conduct additional verification of the submitted information as

necessary.

       7.      No Unauthorized Access to Servers. We do not hack, attempt to hack, or

attempt in any way to gain unauthorized access to anyone’s computer network, email or other

servers, or any systems when conducting Audits. Nor do we ask or encourage any other

party to do so. We have not done any such thing at any time concerning Collins & Truett or

anyone else.

       8.      Details on Our Audit of Collins & Truett. Our Audit investigation into

Collins & Truett and their connection with Mr. Howard is ongoing. We have done the

following:

             (a) First Set of Questions and Answers: On March 16, 2021, we sent questions
                 to Collins & Truett asking if Richard Collins knows Tim Howard and if he
                 has any arrangements or agreements with Tim Howard or Howard &
                 Associates. On March 17, 2021, Mr. Collins emailed to say that he had not
                 received any requests from us. On March 18, 2021, Mr. Collins responded to
                 our questions, acknowledging “a limited professional relationship” with Mr.
                 Howard and saying they have co-counsel relationship on other cases, but said
                 that he had “no arrangements or agreements with Mr. Howard relating to
                 representation of players in the NFL Concussion Settlement Program.”

             (b) Second Set of Questions and Answers: On April 8, 2021, we sent follow-up
                 questions to Mr. Collins to try to clarify his March 18, 2021 responses. We
                 stated in our questions that our observations seemed to raise questions about
                 some of Mr. Collins’ previous responses and we wanted to give him an
                 opportunity to explain. Mr. Collins responded on the same day with his
                 explanations. Here is an overview of what we asked and what he responded:

                          1. To his response that Collins & Truett has no arrangements or
                             agreements with Tim Howard or Howard & Associates related to
                             the representation of players in this Program, we noted that Collins
                             & Truett currently represents 57 Settlement Class Members in this
                             Program. Of those, 49 (86%) were formerly represented by
                             Howard & Associates. In response, Mr. Collins said that: “Mr.
                             Epstein, having been an independent contractor with Howard &
                             Associates, had familiarity with some retired NFL players. They
                             discovered that he was now contracting with Collins & Truett.



                                               4
Case 2:12-md-02323-AB Document 11441-5 Filed 07/19/21 Page 5 of 8




                     Since Amir Shenaq, PC dropped all of the Howard-Shenaq co-
                     counsel players, through word of mouth many players voluntarily
                     elected to speak with staff members at Collins & Truett. They
                     wanted to determine as to whether they would move
                     their representation to this firm. A minor percentage of these
                     players decided to come to my firm.”
                  2. To his response that Neil Epstein worked as an Independent
                     Contractor for Tim Howard “until early 2020,” we noted that Mr.
                     Epstein emailed us on October 23, 2020 using his Howard &
                     Associates email address to discuss matters related to Howard &
                     Associates (after Mr. Epstein had emailed us on August 19, 2020
                     to introduce himself as Collins & Truett’s law firm contact). Mr.
                     Collins responded that “It is known that as Mr. Epstein was
                     departing as independent contractor with Howard & Associates,
                     and beginning his independent contractor relationship with Collins
                     & Truett, that here may be some inadvertent overlap servicing both
                     law firms during this transition. Mr. Epstein informed me that he
                     may have accidentally used his prior Howard & Associates email
                     address while drafting correspondences from Collins & Truett, and
                     vice versa. He will be more careful going forward.”
                  3. We also noted that on February 5, 2020, Mr. Epstein and Tom
                     Woods, Mr. Howard’s former Business Manager and Director of
                     NFL Claims, created Justice Advocates, P.A. Justice Advocates’
                     website lists its contact phone number as (850) 765-5798. The
                     Florida Bar Directory lists this same phone number as Mr. Collins’
                     contact phone number. As to this, Mr. Collins said “Thank you for
                     bringing this matter to my attention. I was unaware that there was
                     an active Justice Advocates website, and was unaware that the
                     website had the same number. …. We proceeded to add that
                     number to my Florida Bar profile without my awareness that the
                     number was used for the other inactive entity’s website.”

    (c) Third Set of Questions and Answers: On April 12, 2021, we sent a third set
        of follow up questions. Among them, we noted that “we have observed that
        Mr. Epstein has two Collins & Truett email addresses: neil@collinstruett.com
        and bruce@collinstruett.com. Mr. Epstein uses the name “Bruce” and that
        associated email address when communicating with Retired NFL Player clients
        represented by Collins & Truett. Why does Mr. Epstein have two email
        addresses? Why does Mr. Epstein use the name “Bruce” and that associated
        email address in these communications?” We also requested “please provide a
        full list of all employees and contractors who work for or with Collins & Truett.”
        On April 14, 2021, Mr. Collins responded about Mr. Epstein’s email addresses to
        say that “To the best of my knowledge, Mr. Epstein may use either email
        account interchangeably. His name is Neil Bruce Epstein.” For our request of
        the list of employees, Mr. Collins responded saying: “Currently: - Neil B.
        Epstein, JD - Independant [sic] Contractor; - Sharon Delaney – Consultant.” On



                                        5
Case 2:12-md-02323-AB Document 11441-5 Filed 07/19/21 Page 6 of 8




       the same day, we followed up to clarify: “could you tell me if there are any other
       employees/contractors/agents who had worked for or with Collins & Truett at
       any point since its inception (other than just “current” ones).” In response, on
       the same day, Mr. Collins responded to say: “Yes, there was young Mr. Winslow
       Robinson, part-time intern. He recently left to prepare to attend law school.
       Although he may work some hours during the Summer, holidays, or when his
       schedule permits.” On April 19, 2021, though, Mr. Collins followed up to this
       response and said that “In furtherance to my April 14 response, having had the
       weekend to thoroughly review all historical Collins & Truett records, we provide
       the list of all current and prior Collins & Truett employees, consultants, and
       agents to the best of our recollection …” That list included names of people,
       classified as 41 “attorneys”, 8 “paralegals,” 35 “secretaries”, another 15 as
       “administration,” and another 83 as “consultants/contractors.” That is 182 names
       altogether. The list did not include Mr. Howard in any of the listed capacities.

    (d) Information from the Confidential Source: On April 15, 2021, we
        received a package from a confidential source that included documents
        relating to Tim Howard and Collins & Truett, showing two email addresses at
        the Collins & Truett firm that seemed to be related to Tim Howard:
        tim@collinstruett.com and phil@collinstruett.com. Tim Howard’s full name
        is Phillip Timothy Howard. The source of this information is known to the
        Claims Administrator but wishes to remain anonymous. During an Audit
        interview with this source, on April 13, 2021, we asked whether the source
        was aware of any connections between Mr. Howard and Collins & Truett.
        The source offered that the connection must exist because Mr. Howard has
        email addresses at the Collins & Truett firm (tim@collinstruett.com and
        phil@collinstruett.com). The source mentioned that he had copies of actual
        emails and stressed that these copies were obtained legally. We agreed that
        the source would provide us with copies of those emails. Those emails were
        included in the April 15, 2021 packet that we received. The emails showing
        the tim@collinstruett.com and phil@collinstruett.com email addresses were
        unrelated to the NFL Concussion Settlement. The source informed me these
        emails were disposed of in a dumpster outside of Mr. Howard’s office and
        were collected from that trash.

    (e) Fourth Set of Questions and Answers: On April 19, 2021, we sent the
        fourth set of 15 questions to Mr. Collins. In it, we asked why Mr. Epstein has
        two separate firm email addresses that he uses “interchangeably”
        (neil@collinstruett.com and bruce@collinstruett.com). In these questions, we
        also asked about phil@collinstruett.com and tim@collinstruett.com emails that
        we had reason to believe existed based on information provided to us by the
        confidential source (see Paragraph 8.(d) above). Mr. Howard’s full name is
        Phillip Timothy Howard, so we wondered if the emails belonged to Mr. Howard,
        despite Mr. Collins having denied Mr. Howard working for the firm, so we
        asked. Mr. Collins responded to these questions on April 22, 2021. To our
        question why Mr. Epstein has two email addresses, Mr. Collins said that it was



                                       6
Case 2:12-md-02323-AB Document 11441-5 Filed 07/19/21 Page 7 of 8




       so “Because he [Mr. Epstein] determined that he wanted the two email addresses.
       It is not important to me what email address a paralegal uses, as long he
       communicates with me on the day-to-day activities, tasks and communications at
       the law firm.” As to the existence and purpose of the emails apparently
       belonging to Mr. Howard, Mr. Collins said that the tim@collinstruett.com email
       address did not exist. As to phil@collinstruett.com, he explained that “since
       Collins & Truett is representing Phil S. Howard, Mr. Tim Howard’s father, on
       the Laketown Wharf wrongful death, and on the Mill Creek personal injury
       cases, and his son, Tim is assisting pro bono on these cases, we have setup a
       Phil@collinstruett email to facilitate communications on these cases.” In his
       response, Mr. Collins asserted “by virtue of the fact that you have an awareness
       of this non-existent email address inadvertently used by me for communications
       a few times, having nothing to do with NFL matters, we conclude that you now
       have access to our in-house email servers.” We were stunned by that outlandish
       allegation and knew it was fanciful. We assumed that Mr. Collins wrote it in a fit
       of anger, or was attempting to deter us from doing our Audit job by accusing us
       of such behavior. We assumed it was just another smokescreen to throw us off
       track. We wanted full answers from Mr. Collins about his firm’s dealings with
       Tim Howard and Tim Howard’s employees without giving him the opportunity
       to match what he told us to what he thought we already knew, which is a
       common and necessary approach to any investigation. We also knew that if Mr.
       Collins really thought someone had penetrated his network security systems and
       accessed his email or other servers without permission, or even attempted to do
       so, all he had to do was ask the person responsible for network security at his
       firm to check their logs to see who had accessed the system and when, which
       would have confirmed there had been no external penetration. If there had been,
       those logs would show when it happened and the IP address of the person who
       did it. We would like to know now if Mr. Collins even asked his IT personnel
       that question before filing his lawsuit. The Court would benefit from seeing
       those Collins & Truett security logs. We never imagined that Mr. Collins would
       file suit, accusing eight persons and entities of criminal hacking, without first
       confirming that his server had in fact been hacked. He must not have, because
       amidst all his accusations, he has not said his server was in fact hacked.

    (f) Other Steps We Took in Audit. Other than the confidential source mentioned
        in paragraph 8.(d) of this Declaration, we interviewed various other persons
        and continued our research, to further our audit and prepare to interview Mr.
        Collins. On May 21, 2021, and May 27, 2021, we interviewed two Settlement
        Class Members who were previously represented by Howard & Associates
        and now are unrepresented, to determine whether they were solicited to be
        represented by Collins & Truett. We then, on June 2, 2021, through
        facilitation of his attorney, interviewed another Settlement Class Member
        previously represented by Mr. Howard, to ask similar questions. Meanwhile,
        on April 12, 2021 and on May 7, 2021, we sent questions to Sharon Delaney,
        one of Collins & Truett’s employees. After reviewing the responses, we had
        a zoom interview with Ms. Delaney on June 22, 2021. Finally, on June 30,



                                       7
      Case 2:12-md-02323-AB Document 11441-5 Filed 07/19/21 Page 8 of 8




               2021, we had a zoom interview with one of former Howard & Associates
               employees. On June 28, 2021, we notified Mr. Collins of the Special Masters’
               Rule 27 Decision regarding Howard & Associates and related parties. We
               noted that the Decision directed that:

                      (1) Any Claims by Settlement Class Members who were at any time
                          represented by Howard & Associates (including its employees) shall
                          be audited, whether those Claims are currently pending or submitted in
                          the future. The Claims Administrator shall certify to the Special
                          Masters, before releasing each Claim from Audit, that there is no
                          indication or evidence that any material from Howard & Associates
                          affected its disposition; and

                      (2) Given the apparent connection between Collins & Truett and Tim
                          Howard, the Claims Administrator shall investigate the relationship
                          between the two firms and Collins & Truett’s current representation of
                          Settlement Class Members in the Program.

              We also said in that communication that “we will be in touch with you with
              follow up questions soon to further the Audit. We would also like to see if you
              might be available in a latter part of July to talk to us. Let us know your available
              times/dates. We anticipate conducting this interview through zoom.” On July 7,
              2021, Mr. Collins responded that “I am compelled to respond to your request, but
              this response is limited under the Florida Rules of Professional Responsibility. I
              am not able to communicate with you as you are a named Defendant in an
              injunction matter, which is not related to the NFL Concussion Settlement. I am
              happy to have a discussion with your counsel.”

       I, Roma Petkauskas, declare under penalty of perjury pursuant to 28 U.S.C. § 1746

that the foregoing is true and correct. Executed on this 19th day of July, 2021.



                                     __________________________________
                                              Roma Petkauskas




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